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Attorneys for Respondent

                        IN THE UNITED STATES DISTRICT COURT

                               FOR THE DISTRICT OF IDAHO


JOSHUA LEE McGIBONEY,                   )
                                        )          CASE NO. 1:16-cv-150-REB
               Petitioner,              )
                                        )          DECLARATION2 IN SUPPORT
vs.                                     )          OF RESPONSE TO
                                        )          PETITIONER’S F.R.C.P. 62.1
                1
 AL RAMIREZ , Warden of the Idaho State )          MOTION FOR AN INDICATIVE
 Correctional Institution               )          RULING, AND F.R.C.P. 60(b)(6)
                                        )          MOTION FOR RELIEF FROM
               Respondent.              )          JUDGMENT
 __________________________________

STATE OF IDAHO )
               ) ss:
COUNTY OF ADA )

1
  The current warden of the I.S.C.I. is Al Ramirez, who should thus be substituted as Respondent
in this proceeding. 28 U.S.C. § 2242; Rule 2(a) of the Rules Governing Section 2254 Cases.
2
  The state utilizes a declaration rather than a sworn affidavit because your declarant currently
lacks access to a notary as a result of the state government response to the COVID-19 pandemic,
which has necessitated telecommuting.

DECLARATION IN SUPPORT OF RESPONSE TO PETITIONER’S F.R.C.P. 62.1 MOTION
FOR AN INDICATIVE RULING, AND F.R.C.P. 60(b)(6) MOTION FOR RELIEF FROM
JUDGMENT - 1
        MARK W. OLSON, being first duly sworn, declares and states upon his personal

knowledge as follows:

        1.     I am counsel of record for Respondent (“state”) in the above captioned case.

        2.     On November 2, 2020, I contacted the Ada County Prosecutor’s Office in an

attempt to obtain records demonstrating whether or not Petitioner’s (“McGiboney”) trial counsel

had access to, or received, certain audio recordings prior to his trial.   These audio recordings

have been submitted by McGiboney in support of his pending F.R.C.P. 60(b)(6) motion for relief

from judgment. (Dkts.46, 47, 47-17.)

        3.     On November 5, 2020, Ada County Deputy Prosecutor Scott Bandy responded to

my request and provided the documents I have submitted as exhibits in support of the state’s

response to McGiboney’s pending F.R.C.P. 60(b)(6) and 62.1 Motions.              These documents

consist of the state’s July 3, 2008 Response to Discovery (Dkt. 48-1, Exhibit A); and a July 3,

2008 Certificate of Receipt of Audio/Video CDs (Dkt. 48-2, Exhibit B).

        4.     I declare under penalty of perjury that the foregoing is true and correct to the best

of my knowledge and that this declaration was executed in Ada County, Idaho, on November 6,

2020.

        Further your declarant sayeth naught.

        DATED this 6th day of November, 2020

                                                /s/
                                                MARK W. OLSON
                                                Deputy Attorney General
                                                Capital Litigation Unit




DECLARATION IN SUPPORT OF RESPONSE TO PETITIONER’S F.R.C.P. 62.1 MOTION
FOR AN INDICATIVE RULING, AND F.R.C.P. 60(b)(6) MOTION FOR RELIEF FROM
JUDGMENT - 2
                                 CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on or about the 6th day of November, 2020, I caused to be
serviced a true and correct copy of the foregoing document by the method indicated below,
postage prepaid where applicable, and addressed to the following:

  Craig H. Durham                                    U.S. Mail
  Ferguson Durham, PLLC                              Hand Delivery
  223 N. 6th Street, Suite 325                       Overnight Mail
  Boise, ID 83702                                    Facsimile
                                                X    Electronic Court Filing


                                         /s/
                                         MARK W. OLSON
                                         Deputy Attorney General
                                         Capital Litigation Unit




DECLARATION IN SUPPORT OF RESPONSE TO PETITIONER’S F.R.C.P. 62.1 MOTION
FOR AN INDICATIVE RULING, AND F.R.C.P. 60(b)(6) MOTION FOR RELIEF FROM
JUDGMENT - 3
